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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA

                        Alexandria Division


UNITED STATES OF AMERICA,           )
                                    )
           v.                       )     1:15cr301
                                    )
ROSCOE ORTEGA UMALI                 )
                                    )
     Defendant.                     )

                          MEMORANDUM OPINION

           This matter is before the Court on Defendant Roscoe

Umali’s (“Defendant”) Motion to Reconsider Detention [Dkt. 53]

and his Supplemental Motion for Reconsideration [Dkt. 95].            For

the reasons set forth below, the Defendant’s Motions are denied.

                             I. Background

           On November 4, 2015, the Defendant was arrested on

charges of wire fraud and conspiracy to commit wire fraud in

violation of 18 U.S.C. § 1343.      On November 5, 2015, Magistrate

Judge Douglas F. McCormick of the Central District of California

entered an order releasing the Defendant on conditions pending

trial.   Upon motion by the Government pursuant to 18 U.S.C. §

3145, this Court heard a de novo review of the Magistrate

Judge’s order on November 19, 2015.       On November 23, 2015, this

Court entered an order with an accompanying memorandum opinion

granting the Government’s motion and ordering the Defendant

detained without bail pending trial.       (Order of Nov. 23, 2015

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[Dkt. 49]; Mem. Op. [Dkt. 51])

          On November 24, 2015, the Defendant filed this Motion

to Reconsider Detention.     The Government voiced their opposition

to the Defendant’s Motion to Reconsider Detention at an

arraignment hearing on December 10, 2015, and the Court

requested further briefing on the matter.        The Government filed

their opposition to the Motion on December 11, 2015 [Dkt. 91].

On December 17, 2015 the Defendant filed a Supplemental Motion

for Reconsideration [Dkt. 95].      The Government filed a response

to the Defendant’s supplemental brief that same day [Dkt. 96].

The Motions are now ripe for decision.

                              II. Analysis

          The Defendant’s arguments against his continued

pretrial detention fall into three categories.         First, the

Defendant contends that this Court’s previous Memorandum Opinion

erred by determining that, given the nature and circumstances of

the offense charged, the weight of the evidence against the

Defendant, and the history and characteristics of the Defendant,

the preponderance of the evidence demonstrated that no

combination of conditions would reasonably assure the Court of

the Defendant’s appearance at future court proceedings.           (Def.’s

Mot. to Rec. ¶¶ 1, 2, 5, 6.)      Second, the Defendant challenges

the reliability of the evidence presented by the Government at

his initial detention hearing.      (Id. at ¶¶ 2, 3.)      Finally, the

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Defendant argues that new evidence regarding the nature and

timing of his trip to the Philippines in 2015 demonstrates that

he is likely to return to face further proceedings without

pretrial detention. (Id. at ¶ 4.)        The Court will address each

of these arguments in turn.

           1) The Court Considered All Possible Pretrial

             Conditions in Issuing the Original Detention Order

           The Court stands by the findings in its previous

Memorandum Opinion that because the offense charged involved the

careful concealment of the defendant’s identity through the use

of false identities and at least one fraudulent government

identification card, “the Defendant has demonstrated skill at

assuming false identities and evading detection.”          (Mem. Op. at

8.)   The Court also stands by its previous determination that

the Government has demonstrated, by a preponderance of the

evidence, that their case against the Defendant is substantial.

The Court found the testimony of agent Erich Schulenberg

credible in this regard.     Further, while the Court did not list

every possible condition which can be imposed during pretrial

release, it did consider each of them, and explicitly found by a

preponderance of the evidence that “no combination of conditions

will reasonably assure the Defendant’s appearance at future

court proceedings.”    (Id.)    For the benefit of the parties,

however, the Court will now further clarify why it finds that

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the three potential conditions specifically proposed by the

Defendant in his Motion to Reconsider are insufficient to

reasonably assure the Defendant’s appearance at further court

proceedings.

            The Court finds that given the evidence of the

Defendant’s previous acquisition and use of false government

identification documents, surrender of his Philippine passport

would not eradicate concerns about flight to another country.

The prior use of false government issued identification

indicates both that the Defendant possesses the know-how to

obtain false government issued identification again and that the

Defendant is willing and able to use false government issued

identifying documents to conduct business under an assumed

identity.   While the surrender of the Defendant’s Philippine

passport would prevent the Defendant from using that passport to

flee the country, it would do nothing to address concerns about

the Defendant’s ability to fraudulently obtain another, false

passport.

            The Defendant also suggests third party custodianship

by his mother.   However, third party custodianship by a family

member in this case is particularly problematic, as the

Defendant has extensive familial ties to the Philippines, and

that family network could be used to facilitate flight.           The

Defendant himself has admitted that after the initiation of the

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investigation in this matter and prior to his arrest, he was

visiting his grandmother in the Philippines.         (Def.’s Mot. to

Rec. ¶ 4.)    The Defendant’s extensive family ties to the

Philippines and the timing of his most recent trip there

strongly suggest that if the Defendant were to flee the country,

the Philippines would be one of his most likely destinations.

This Court has previously determined that the circumstances of

this case demonstrate that the Defendant has a strong incentive

to flee the country and the willingness and know-how to do so.

The Court does not believe that a third party custodianship will

help assure the Defendant’s appearance at further proceedings,

particularly when the third party custodian is a member of the

family network which provides the Defendant with one of his most

likely avenues of flight.

             Finally, the Defendant proposes electronic monitoring,

with the unsupported assertion that “this also would virtually

make any ability to flee almost non-existent.”         (Def.’s Mot. to

Rec. ¶ 5.)    Obviously if the imposition of electronic monitoring

were enough to “make any ability to flee almost non-existent,”

than no defendant would ever be detained pending trial as a

flight risk.    The Defendant overstates the effectiveness of

electronic monitoring.     Electronic monitoring is not always

effective in preventing flight.          See, U.S. v. Hussain, 6

Fed.App’x. 50, 52 (1st Cir. 2001); U.S. v. Minns, 863 F.Supp.

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360, 364 (N.D. Tex. 1994); U.S. v. Patel, 1995 WL 557379, at *3

(N.D. Ill. Sep. 19, 1995).      In light of the Defendant’s strong

incentive to flee, his extensive connections abroad, and his

experience with concealing his identity, the Court finds that

electronic monitoring would not reasonably assure the

Defendant’s appearance at further proceedings, either alone or

in conjunction with any other conditions of release.

            2) Reliability of the Government’s Evidence

            The Defendant also argues that the testimony presented

by the Government at the detention hearing was not sufficiently

reliable to justify the Court’s finding that “the weight of the

evidence against the defendant appears to be substantial.”

(Mem. Op. at 7.)    Specifically, the Defendant takes issue with

the Court’s consideration of “the evidence of a cooperating

witness.”   (Def.’s Mot to Rec. ¶ 2.)      The Defendant further

argues that “[t]he court in its opinion says the case ‘appears’

substantial without any factual basis as stated above.”           (Id.)

The defendant’s objection to the consideration of cooperating

witness testimony is baseless.      First, the Court is entitled to

consider any evidence, even that which might be inadmissible at

trial, in a bond hearing.     See Fed. Rule Evid. 1101(d)(3)(Rules

of Evidence do not apply when “considering whether to release on

bail or otherwise”).     Second, even at trial there is no rule

against the admissibility or consideration of testimony by

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cooperating witnesses.

              The Defendant argues that “the reliability of this

type of evidence is very suspect.”           (Def.’s Mot. to Rec. ¶ 2.)

While cooperator testimony can be vulnerable to impeachment

based on the potential self-serving motivation of the

cooperator, the Defendant grossly overstates his case by arguing

that cooperator testimony is inherently “very suspect” or of

little value to the government’s case.            Cooperator testimony can

be hugely influential in a prosecution case particularly where,

as here, the cooperator testimony is corroborated by other,

concrete sources.1

              In any event, the relevant inquiry at a detention

hearing is not whether the Government can prove the offense

charged, but rather the extent to which the weight of the

Government’s evidence creates an incentive for the defendant to

flee rather than return for further proceedings.              The Court

finds that the prospect of cooperator testimony against the

Defendant corroborated and bolstered by extensive evidence in

the form of financial records, phone records, and text messages

creates a strong incentive to flee rather than return to face

further proceedings in this case.            Accordingly, the Court stands


1
 The Court found the testimony of agent Erich Schulenberg to be
credible in this regard, and believes his assertion that the
cooperating witnesses’ testimony is corroborated by financial
and telephone records.
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by its initial determination that the “extensive evidence

against the defendant increases the temptation to flee rather

than return for subsequent proceedings in this court, and weighs

in favor of detention.”     (Mem. Op. at 6.)

          3. New Evidence Regarding Travel to the Philippines

          The Defendant argues that the Court “misstated the

facts as to the defendant’s trip to the Philippines” in its

previous Memorandum Opinion.      (Def.’s Mot. to Rec. ¶ 4.)

However, the Court’s prior opinion and order did not rest on a

finding or belief that the Defendant returned from the

Philippines prior to the arrest of his alleged co-conspirators

Ayala and Sanchez.    Rather, the Court looked to the Government’s

evidence that the Defendant returned to the United States “only

after having communicated with Ayala and Sanchez via a

‘facetime’ application and confirming that they had fled the

United States to Mexico.”     (Mem. Op. at 7.)      The Defendant has

not introduced any evidence or testimony indicating that he then

discovered that Ayala and Sanchez had returned to the United

States and been arrested.     The Court finds that a preponderance

of the evidence indicates that the Defendant returned from the

Philippines after confirming that Ayala and Sanchez had fled to

Mexico, but before learning that Ayala and Sanchez had

eventually been arrested.

          The fact that the Defendant made his most recent trip

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to the Philippines by the usual, legal means does not diminish

the persuasiveness of the trip’s extremely suspicious timing.

The Defendant’s passport demonstrates that he entered the

Philippines on June 15, 2014, less than a week after search

warrants were executed at the residence of his alleged co-

conspirators, Sanchez and Ayala.2             (Def.’s Ex. 1 [Dkt. 95-1].)

The dates of the Defendant’s passport stamps suggest that upon

learning of the Government’s investigation, the Defendant’s

first instinct was to flee the country.

              The return date on the Defendant’s passport appears to

demonstrate that he in fact returned to the United States well

before his alleged co-conspirators Sanchez and Ayala were

arrested in the Spring of 2015.              See United States v. Sanchez et

al., No. 1:15cr147 (E.D. Va.) at Dkt. No. 9 (arrest warrant

returned executed for Sanchez on March 23, 2015); id., Dkt. No.

18 (arrest warrant returned executed for Ayala on May 24, 2015).

As discussed above, the Court did not rest its prior order on

the belief that the Defendant returned to the country before

Sanchez and Ayala were arrested, only that the Defendant

returned to the country prior to discovering their arrest.

However, it is somewhat troubling to see the Defendant asserting

in one breath that he “returned after the co-defendant’s (sic)

2
 Search warrants were executed on the residence of Joshua Sanchez
and Kristen Ayala on or about June 9, 2014. (Gov.’s Resp. to
Def.’s Supp. Mot. [Dkt. 96] ¶ 3.)
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were already arrested and in custody”, then turning around and

introducing evidence demonstrating that he returned well before

Sanchez and Ayala were arrested with the next.          (Def.’s Mot. to

Rec. ¶ 4. (emphasis in original))

           The new evidence introduced by the Defendant only

bolsters the Court’s previous finding that the Defendant’s “past

actions demonstrate a willingness to endorse flight rather than

face court proceedings on the Government’s charges.”           (Mem. Op.

at 7.)   Neither the Defendant’s newly introduced evidence nor

their arguments have persuaded the Court that any condition or

combination of conditions could provide reasonable assurance

ensure the Defendant’s appearance at subsequent proceedings.

Where no condition or combination of conditions can reasonably

assure the court of the defendant’s appearance, pretrial

detention is warranted.      United States v. Stewart, 19 F. App’x

46, 48 (4th Cir. 2001).      Accordingly, the Court still finds by a

preponderance of the evidence that pretrial detention is

appropriate in this case.

                             III. Conclusion

           For the foregoing reasons, the Court denies both the

Defendant’s Motion to Reconsider Detention and his Supplemental




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Motion for Reconsideration.

           An appropriate Order shall issue.




                                                    /s/

January 27, 2016                         James C. Cacheris
Alexandria, Virginia             UNITED STATES DISTRICT COURT JUDGE




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